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                         United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


Alexander Bayonne Stross

                                                          Civil Action No. 20-cv-00177-DMS-AGS

                                            Plaintiff,
                                     V.
Z Lifestyle LLC, doing business as                        CLERK'S DEFAULT JUDGMENT
Worldlifestyle.com                                             IN A CIVIL CASE

                                          Defendant.


Decision by Court. This action came before the Court. The issues have been heard and a decision has
been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
For the foregoing reasons, Plaintiff’s motion for default judgment is GRANTED. Defendant shall make
payment to Plaintiff in the amount of $23,709.99 within thirty (30) days of this Order. Within fourteen
(14) days of this Order, Plaintiff shall file documentation supporting additional fees and costs and the
appropriate interest rate. In addition, Defendant is hereby ENJOINED from posting the Photo on its
website or engaging in further removal of the Photo’s CMI, as discussed. The Clerk of Court is
instructed to enter judgment in favor of Plaintiff and close the case.




Date:          11/5/20                                         CLERK OF COURT
                                                               JOHN MORRILL, Clerk of Court
                                                               By: s/ M. Exler
                                                                                      M. Exler, Deputy
